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                        BEFORE THE UNITED STATES
               JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 IN RE: FTX Cryptocurrency Exchange                         MDL Docket 3076
 Collapse Litigation


                                   PROOF OF SERVICE

         In accordance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, the undersigned hereby certifies that on December 8, 2023,

copies of the Notice of Potential Tag Along Actions were filed electronically through the

CM/ECF system, and copies of same were sent by USPS and/or Email to all parties on the

attached service list.

 United States Bankruptcy Court for the District of Delaware
 824 N Market St # 500
 Wilmington, DE 19801
                             Austin Onusz v. West Realm Shires Inc
                         Case No.: 1:22-AP-50513, Judge John T. Dorsey
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